                           UNITED STATES BANKRUPTCY COURT
                       FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 IN RE: ROBERT THOMAS KEZEK, SR. and                  : CHAPTER 13
        TRACEY LYNN KEZEK                             :
           Debtor(s)                                  :
                                                      :
          CHARLES J. DEHART, III                      :
          STANDING CHAPTER 13 TRUSTEE                 :
             Movant                                   :
                                                      :
                vs.                                   :
                                                      :
          ROBERT THOMAS KEZEK, SR. and                :
          TRACEY LYNN KEZEK                           :
             Respondent(s)                            : CASE NO. 5-18-bk-03025


                TRUSTEE’S OBJECTION TO AMENDED CHAPTER 13 PLAN

                 AND NOW, this 29th day of October, 2018, comes Charles J. DeHart, III,
 Standing Chapter 13 Trustee, and objects to the confirmation of the above-referenced debtor(s)’
 plan for the following reason(s):

                1. Debtor(s)' plan violates 11 U.S.C. Sec. 1322(a)(1) in that the debtor(s) has not
 submitted all or such portion of the disposable income to the Trustee as required. More
 specifically,

              Trustee alleges and avers that debtor(s)’ disposable income is greater than that
 which is committed to the plan based upon the Means Test calculation and specifically disputes the
 following amounts:

                      a. Transportation ownership expense – Line 13 – Ownership
                         expense for vehicles(s) without lien not permitted - Surrendered
                         vehicle.
                      b. Payments should go up $374.83 after the retirement loan is paid.
                      c. Verify reduction in overtime pay.

                 2. Trustee avers that debtor(s)’ plan is not feasible and cannot be administered due
 to the lack of the following:

                      a. Paystub for month ending December 31, 2018 or W-2 for 2018.

                WHEREFORE, Trustee alleges and avers that debtor(s) plan is nonconfirmable and
 therefore Trustee prays that this Honorable Court will:




Case 5:18-bk-03025-RNO           Doc 113 Filed 02/15/19 Entered 02/15/19 11:50:31               Desc
                                  Main Document    Page 1 of 2
                     a. Deny confirmation of debtor(s) plan.
                     b. Dismiss or convert debtor(s) case.
                     c. Provide such other relief as is equitable and just.

                                                  Respectfully submitted:

                                                  Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee
                                                  8125 Adams Drive, Suite A
                                                  Hummelstown, PA 17036
                                                  (717) 566-6097

                                      BY:         /s/Agatha R. McHale
                                                  Attorney for Trustee




                                   CERTIFICATE OF SERVICE

                AND NOW, this 15th day of February, 2019, I hereby certify that I have served
 the within Objection by electronically notifying parties or by depositing a true and correct copy of
 the same in the United States Mail at Harrisburg, Pennsylvania, postage prepaid, first class mail,
 addressed to the following:

 Patrick Best, Esquire
 18 N. 8th Street
 Stroudsburg, PA 18360


                                                  /s/Deborah A. Behney
                                                  Office of Charles J. DeHart, III
                                                  Standing Chapter 13 Trustee




Case 5:18-bk-03025-RNO          Doc 113 Filed 02/15/19 Entered 02/15/19 11:50:31                Desc
                                 Main Document    Page 2 of 2
